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                                             April 19, 2019


Mr. Jason R. Knutson
Trial Attorney
U.S. Department of Justice
Criminal Division / Fraud Section

        RE:     United States v. Dr. Richard Farmer
                No: 2:19-cr-20075-TLP
                My File No. 6532.001

Dear Mr. Knutson:

        1. Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, Defendant hereby requests
copies of all items discoverable under subparagraphs (a)(1)(A) through (a)(1)(E).

         2. The Defendant further requests notice of the government’s intention to use any like and
similar conduct on the part of the defendant should this case proceed to trial.

       3. The Defendant requests notice of any items seized by agents of the United States from the
person or residence of the Defendant, which may or could be the subject of a Motion to Suppress
Evidence as per Rule 12(d)(2).

         4. The Defendant further requests notice of the use of any electronic surveillance or wiretap in
this case.

        5. This discovery request includes the production of information contained in the files or
otherwise known to any municipal or state agency, whether civil, administrative, or criminal in nature,
which information has formed part of the decision to prosecute.

        6. This letter also requests the disclosure by the government of “Brady” material including
impeachment evidence as set out in the case of United States v. Bagley, 87 L.Ed.2d 481 (1985).
Consequently, the defendant is hereby requesting any information the government may have that is
favorable to the defendant and material either to guilt or punishment, including evidence going to the
impeachment of a government witness, and specifically includes information about the possible interest of
a witness in testifying falsely.

        7. The existence, substance, extent, and the manner of execution or fulfillment of any
inducement, promise, statement, agreement, understanding, or arrangement, either verbal, written, or
implied, between the government and any agents and any prosecution witness, or his or her attorneys or
representatives, for the purpose of obtaining said person’s testimony, cooperation, or provision of
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Mr. Jason R. Knutson
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information to the government wherein the government has agreed stated, or implied action as to any of
the following;

        (a) Not to prosecute said person for any crime or crimes, charged or uncharged.

        (b) To provide a formal grant of statutory immunity, or to provide an informal assurance that the
            person will not be prosecuted in connection with any testimony, cooperation, or information
            given.

        (c) To recommend leniency or a particular sentence for any crime or crimes for which he or she
            stands convicted or for which he or she will be charged or is expected to be convicted.

        (d) To reconsider or otherwise alter its present position towards sentence, prosecution, or other
            exposure based upon the nature and extent of the person’s future testimony or cooperation
            relative to this or any other case.

        (e) To make any recommendation of benefit to the person or any state or federal agency.

        (f) To provide favorable treatment or consideration, that is, money, job, a new location, etc., to
            the person himself or to friends or relatives of the person in return for his testimony,
            cooperation, or provision of information.

        (g) Not to prosecute a third party for any crime or crimes where the reason for not prosecuting
            said third party is the consideration to the person or witness.

        (h) To make any other recommendations of benefit or to give any other consideration to the
            person or friends or relatives of said person.


        In closing, I would also request notification and a description of any information that would
qualify as “relevant conduct” under the United States Sentencing Guidelines. Thank you.


                                                        Sincerely,

                                                      s/Charles S. Mitchell
                                                       Charles S. Mitchell

CSM/clw
cc: U.S. District Court Clerk
